iv Case 2:04-cr-20017-BBD Document 355 Filed 07/20/05 Page 1 of 4 Page|D 736

 

IN THE UNITED sTATEs DISTRICT coUi*t£D H"‘ - `~ '~'
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VS` CAUSE No. W-Dzlibl"`l.""n""
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RANDE LAZAR §§ 5
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MoTIoN FoR WAIVER 0F APPEARANCE §§§ m l ‘
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COMES NOW the Defendant, Rande Lazar, by and through his counsel ofrecord, Steven
E. Farese, Sr., and files the attached affidavit in support of his request for Waiver of Appearance
and respectfully requests that his appearance be excused from the present motion hearing date
that is now set on the 21" day of July, 2005 at 9:30AM. Doctor Lazar is currently scheduled to

work that day. The Doctor understands his duty to appear at future dates as ordered by the Court

unless excused by the Court for good reason.
WHEREFOR_E, PREMISES CONSIDERED, the Defendant prays that he be excused

from attendance and that his counsel, Steven E. Farese, be allowed to appear on his behalf on the

Re pectfully submitted,
" ' .\ H/_.A
/§,&) _ W/;(/

FARESE, FARESE sZ`rAREsE P.A. ")(LJ/WMA)
sTE\/EN E. FARESE, sR

motion healing date of July 21, 2005.

 

   

 

 

. TsB #10716.
MoTloN GRANTE 122 CHURCH STREET
:§ m __ / ,g,gp P.O. BOX 98
ASHLAND, MISSISS[PPI 38603
l Wv"-“" b (662) 224~6211
BERN|GE BoulE BONALo Attomey for Defendant
U.S. D|STRICT JUDGE

Th[s document entered on the docket sheet in compd|lanee 5 52 [;
with sale 5a ami/or sz(b) mch on “

Case 2:04-cr-20017-BBD Document 355 Filed 07/20/05 Page 2 of 4 Page|D 737

CERTIFICATE OF SERVICE

 

I hereby certify that a true and correct copy of the foregoing has been served upon the
United States Attomey’s Oftice, VIA FACS]MILE, at the following address:

Via Facsimile

VlA FACSIMILE: (901) 544-4230
Honorable Carn T. .T ones

United States Attorney’s Office
Federal Building Suite 800

167 N. Main Street

Mernphis, Tenn 38103

~1,~
Thisthe / iii day ofJuiy,zoos.
Méy_g/j/ZM( l (fj§/

“s_TE\/EN E. FARESE, sR. ( 195 /Pa.,»/ ¢¢1$)

Case 2:04-cr-20017-BBD Document 355 Filed 07/20/05 Page 3 of 4 Page|D 738

WAIVER OF APPEARANCE
COMES NOW, RANDE LAZAR, and waives his appearance at his motion hearing date
currently set for Thursday, July 21, 2005, in the United States Distn`ct Court for the Western

Di§trict of Tennessee and hereby authorizes his attorney of record Steven E. Farese, to appear on

his behalf @ 1 l p`;>.

RANDE law
/(/\/
STATE OF

coUNTY 01= _M;B/

SWORN TO AND SUBSCRIBED, before me, a notary public in and for the state and

444
county aforesaid, this the i § day of

 

 

 

(sEAL)

My Comrnission Ex ires:

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Notice of Distribution

This notice confirms a copy of the document docketed as number 355 in
case 2:04-CR-200]7 Was distributed by fax, mail, or direct printing on
.luly 20, 2005 to the parties listedl

ENNESSEE

 

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Honorable Bernice Donald
US DISTRICT COURT

